                       Exhibit 1: Excerpts from Award of qualifiers


S/N   Sections where             Quote
      Tribunal qualified
      their findings
1.    Para 24                    “The terms of the alleged Settlement-in-Kind were said
                                 to have included the transfer from Madam Xu to the
                                 Chen Brothers of her alleged beneficial ownership of the
                                 2017 Twist Investment and Sisram Investment, the
                                 cancellation of the Chen Brothers’ alleged corresponding
                                 ‘loans’ to Madam Xu and, importantly for the purposes
                                 of this Arbitration, the alleged Settlement-in-Kind
                                 afforded the Chen Brothers the right to take up the
                                 opportunity of the 2018 Twist Investment in Madam
                                 Xu’s place”
2     Para 74                    PO7 also recorded the Parties’ agreed stipulation for the
                                 purposes of the Tribunal’s decision on the
                                 Preliminary Question Issue as regards beneficial
                                 ownership of the 2018 Twist Investment.
3     Para 108                   The Tribunal has decided that, save where expressly
                                 treated otherwise in this Award, for the purposes of its
                                 decision on the Preliminary Question Issue any
                                 distinction between the business dealings of the Chen
                                 Brothers and of Zhonghengtai is immaterial and hence
                                 references to the business dealings of any of ‘Mr. Chan’,
                                 ‘Mr. Chen’, the ‘Chen Brothers’ or ‘Zhonghengtai’ are
                                 where the context admits to be treated as references to the
                                 business dealings of the Chen Brothers whether
                                 individually or through Zhonghengtai, or indeed any
                                 other corporate entity or entities owned by them.
4     109                        For the purposes of this Arbitration, the Tribunal has
                                 treated funds emanating from the Puning Jinxin account
          as having been joint funds of Mr. Ma and Madam Xu,
          which on the various occasions described below in this
          Award, were provided to Ms. Ma as ‘family money’, in
          the form of a gift.
5   111   Finally, for the sake of completeness, as regards the
          relationship between Ms. Ma and Jiangxing, the position
          is generally clearer, since Jiangxing’s only role which is
          relevant for the purposes of this Award was to assist
          Ms. Ma with investments which she claims as her own or
          which, on the Claimant’s case, were owned at different
          times either by Madam Xu or indirectly by the Chen
          Brothers themselves, as owners of Rise Huge.
6   232   It is therefore, for the sake of efficiency for the purposes
          of this application, content to proceed on the basis of an
          agency relationship. Ms. Ma’s team, slightly overstating
          the Claimant’s position, say that Claimant is correct in its
          supposition that the proper way to analyse the
          relationship in this context is as one of principal and
          agent, pointing out that, although Ms. Ma in her
          statements uses the language of ‘agency’ and
          ‘nomineeship’ interchangeably “that is hardly surprising
          given that she is a non-lawyer”.
7   241   In light of the above, the Tribunal’s decision on the
          burden of proof is that, as the applicant, it is for Ms. Ma
          to prove her case in order to establish beneficial
          ownership of the 2018 Twist Investment of which Rise
          Huge is the undisputed legal owner. In this regard, the
          preliminary decision of HKIAC, which was in the nature
          of an administrative decision, creates no presumption
          which impacts upon the burden of proof for the
          purposes of the Tribunal’s determination of the
          Preliminary Question Issue.
8    253   During the course of the Arbitration, the Tribunal
           recorded the Parties’ agreed stipulation that: ‘For the
           purposes of its decision on the Preliminary Question,
           the Parties agree that whichever of [Rise Huge] or [Ms.
           Ma] is held by the Tribunal to be the beneficial owner of
           the 2018 Twist Investment shall be the true principal
           and/or party to the Second Amended LPA’.
9    270   However, the Tribunal finds that, as the Claimant itself
           argues, in order to decide the Preliminary Question Issue
           for the purposes of Ms. Ma’s present application, it
           does not need to reach a conclusion on the validity or
           otherwise of the Xinyang loan and the purported ECA’s
           with ‘silent co-investors’ comprising Highkin, Hangpai,
           Shengli and DXH.
10   285   “On the basis of all of the evidence before it, upon full
           and careful consideration of the issues raised by the
           Parties and for the reasons set out above, the Tribunal:
              (1) Declares that Ms. Ma Ka Lam, the Additional
                  Party in this Arbitration, and not Rise Huge, is the
                  true principal and true party to the Second
                  Amended LAP.
              (2) Dismisses all other claims, applications and
                  requests relating to the Preliminary Question
                  Issue.
              (3) Reserves all matters concerning costs and further
                  procedural directions, if any, in these proceedings
                  to further Order.
